                      Case 1:21-mj-00099-RMM Document 1 Filed 01/17/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of &ROXPELD

                  United States of America                          )
                             v.                                     )
                  Riley June Williams                               )      Case No.
                                                                    )
                                                                    )
                                                                    )
         'DWHRI%LUWK;;;;;;;;                                   )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               January 6, 2021                   in the county of                                       in the
                         LQWKH'LVWULFWRI    &ROXPELD , the defendant(s) violated:

             Code Section                                                    Offense Description

             18 USC 1752(a)(1) Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
             Authority
             40 USC 5104(e)(2) Violent Entry and Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                              Complainant’s signature

                                                                                    Jonathan M. Lund, Special Agent
                                                                                              Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                             Robin M.                     Digitally signed by Robin M.
                                                                                                          Meriweather

Date:             01/17/2021
                                                                             Meriweather                  Date: 2021.01.17 13:03:09
                                                                                                          -05'00'
                                                                                                 Judge’s signature
                                                                            Robin M. Meriweather
City and state:      Washington D.C.                                        United_ States Magistrate Judge                     _
                                                                                              Printed name and title
